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 6

 7

 8                                IN THE UNITED STATES DISTRICT COURT
 9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                        Case No.: 2:07-cr-00215-MCE
12                  Plaintiff,                        ORDER
13          vs.
14   PEDRO RODRIGUEZ-MERCADO,
               Defendant.
15

16
                                                  ORDER
17

18
            The above case is presently set for status conference on June 5, 2008. At the request
19
     of the court, this matter is scheduled for further status conference on June 12, 2008, at 9:00
20
     a.m. Undersigned counsel agrees that an exclusion of time is appropriate for defense
21
     preparation and investigation. It is ordered that time be excluded under the Speedy Trial Act
22
     through June 12, 2008, pursuant to 18 U.S.C. section 3161(h)(8)(A) and (B)(iv) (Local Code
23
     T4).
24
     DATED: June 10, 2008
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26
                                              __________________________________
                                              MORRISON C. ENGLAND, JR
27                                            UNITED STATES DISTRICT JUDGE
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